Case 1:14-cr-00096-SEB-TAB            Document 1080         Filed 05/17/17      Page 1 of 1 PageID #:
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                            )
                                                        )
                                 Plaintiff,             )
                                                        )
                         vs.                            )      No. 1:14-cr-00096-SEB-TAB
                                                        )
   FARIS B. KEENER (16),                                )
                                                        )
                                 Defendant.             )


                 ORDER ADOPTING REPORT AND RECOMMENDATION
        Having reviewed Magistrate Judge Mark J. Dinsmore’s Report and Recommendation that

 Faris B. Keener’s supervised release be revoked, pursuant to Title 18, U.S.C. §3401(i) and Rule

 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, The Court now

 approves and adopts the Report and Recommendation as the entry of the Court, and the

 Defendant is sentenced to the custody of the Attorney General or his designee for a period of six (6)

 months with no supervised release to follow. The Defendant is to be taken into custody immediately.



        SO ORDERED.



              5/17/2017
        Date:________________                      _______________________________
                                                    SARAH EVANS BARKER, JUDGE
                                                    United States District Court
                                                    Southern District of Indiana
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